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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION


KEVIN WHITE

       Plaintiff

           v.                                               Case No.: 2:21-cv-00113-RCY-RJK

GULF HARBOUR INVESTMENTS CORP. &                             Removed from the Circuit Court
SPECIALIZED LOAN SERVICING, LLC                              of the City of Virginia Beach, VA
                                                             Case No. CL21-783-00
       Defendants.


                                 NOTICE OF SETTLEMENT

       Plaintiff, Kevin White, Defendant, Gulf Harbour Investments Corp., and Defendant,

Specialized Loan Services, LLC hereby submit the foregoing Notice of Settlement.

       The parties represent that they have resolved this case in principle and that they are in the

process of memorializing the terms of their settlement. The parties expect to finalize and execute

that agreement within the next thirty (30) days, at which time, they will file a stipulation of

dismissal with the Court.

       October 8, 2021                       Very Respectfully,

                                             KEVIN WHITE

                                             By Counsel

                                             /s/ Lenard Myers, II
                                             Lenard Myers, II (VSB 79858)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 8, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which should send notification of such filing (NEF) to

the following:

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                 Attorney for Defendants
                 Gulf Harbour Investments Corporation
                 & Specialized Loan Servicing, LLC


                                                             /s/ Lenard Myers, II
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